      Case 2:18-cr-00231-DAK Document 21 Filed 12/10/18 Page 1 of 12
                                                                             FILED IN UNITED STATES DISTRICT
                                                                                 COURT, DISTRICT OF UTAH
                                                                                     DEC 1o2018-
JOHN W. HUBER, United States Attorney (#7226)                     D MARK JON
MICHAEL GADD, Special Assistant United States Attorney (#13704) BY~           ES, CLERK
VERNON G. STEJSKAL, Assistant United States Attorney (#8434)          DEPUTY CLERK
KENT A. BURGGRAAF, Special Assistant United States Attorney (#13044)
Attorneys for the United States of America
111 South Main Street, Suite 1800
Salt Lake City, Utah 84111
Telephone: (801) 524~5682
Email: michael.gadd@usdoj.gov

                      IN THE UNITED STATES DISTRICT COURT
                       DISTRICT OF UTAH, CENTRAL DIVISION

  UNITED STATES OF AMERICA,                     Case No. 2:18-CR-00231~DAK

         Plaintiff,                             STATEMENT BY DEFENDANT IN
                                                ADVANCE OF PLEA OF GUILTY
         vs.                                    AND PLEA AGREEMENT

  JONATHAN LUKE PAZ,
                                                Judge Dale A. Kimball
         Defendant.


        I hereby acknowledge and certify that I have been advised of and that I understand
the following facts and rights, and that I have had the assistance of counsel in reviewing,
expl_a;iung, and entering into this agreement:

  '(/ 1.       As part of this agreement with the United States, I intend to plead guilty to
Counts one, two, three, and four of the Felony Information. My attorney has explained
the nature of the charges against me, and I have had an opportunity to discuss the nature
of the charges with my attorney. I understand the charges and what the government is
required to prove in order to convict me. The elements of Count 1, Conspiracy to
Manufacture a Controlled Substance, are:
First: two or more persons agreed to violate the federal drug laws;
Second: the defendant knew the essential objective of the conspiracy;
Third: the defendant knowingly and voluntarily involved himself in the conspiracy;
Fourth: there was interdependence among the members of the conspiracy; and
Fifth: the overall scope of the conspiracy involved at least 400 grams of Fentanyl.
      Case 2:18-cr-00231-DAK Document 21 Filed 12/10/18 Page 2 of 12




The elements of Counts 2 and 3, Knowing and Intentional Adulteration of Drugs while
Held for Sale, are:

First: the relevant product, Fentanyl, was a drug as defined in 21 U.S.C. 321;

Second: the defendant held the drug for sale after its shipment in interstate commerce;

Third: the defendant performed, or caused to be performed, one or more acts which
resulted in the article being adulterated as defined in 21 U.S.C. 351;

Fourth: the defendant knowingly and intentionally adulterated or .caused the adulteration
of the drug; and

Fifth: such adulteration of the drug had a reasonable probability of causing serious
adverse health consequences or death to humans.
The elements for Count 4, Conspiracy to Commit Money Laundering, are:
First: two or more persons, in some way or manner, came to a mutual understanding to
try to accomplish a common and unlawful plan to violate 18 U.S.C. 1956, which was:
   a) To conduct a financial transaction involving proceeds of some form of unlawful
      activity;
   b) With the intent to promote the carrying on of a specified unlawful activity; or,
   c) Knowing that the transaction was designed in whole or in part to conceal or
      disguise the nature, the location, the source, the ownership or the control of the
      proceeds of the specified unlawful activity; and
Second: the defendant, knowing the unlawful purpose of the plan, willfully joined in it.
  iOf; 2. I lrnow that the maximum possible penalty provided by law for Count 1 of
the Felony Information, a violation of 21 U.S.C. §§ 841(a)(l) and 846, is a term of
imprisonment of up to life in prison, a minimum mandatory sentence of ten years, a fine
of ten million dollars, a term of supervised release of at least five years, and any
applicable forfeiture. I understand that if I violate a term or condition of supervised
release, I can be returned to prison for the length of time provided in 18 U.S.C. §
3583(e)(3).
I know that the maximum possible penalty provided by law for Counts 2 and 3 of the
Felony Information, a violation of 21 U.S.C. §§ 33l(k) & 333(B)(7), is a term of
imprisonment of up to twenty years, a fine of one million dollars, a term of supervised
release of up to three years, and any applicable forfeiture. I understand that ifl violate a


                                              2
          Case 2:18-cr-00231-DAK Document 21 Filed 12/10/18 Page 3 of 12




    term or condition of supervised release, I can be returned to prison for the length of time
    provided in 18 U.S.C. § 3583(e)(3).

    I know that the maximum possible penalty provided by law for Count 4 of the Felony
    Information, a violation of 18 U.S.C. § 1956(h), is a term of imprisonment of up to
    twenty years, a fine of $250,000USD, a term of supervised release of up to three years,
    and any applicable forfeiture. I understand that if I violate a term or condition of
    supervised release, I can be returned to prison for the length of time provided in 18
    U.S.C. § 3583(e)(3).

          ~. Additionally, I know the Court is required to impose an assessment in the
    amount of $100 for each offense of conviction, pursuant to 18 U.S.C. § 3013.
    Furthermore, restitution to the victims of my offenses may be ordered pursuant to 18
    u.s.c. § 3663.
           ~ b.  I understand that, if I am not a United States citizen, I may be removed
    from the United States, denied citizenship, and denied admission to the United States in
    the future.

~3.     I know that the sentencing procedures in this case and the ultimate sentence wiU be
        determined pursuant to 18 U.S.C. § 3553(a), and that the Court must consider, but is
        not bound by, the United States Sentencing Guidelines, in determining my sentence. I
        have discussed these procedures with my attorney. I also know that the final
        calculation of my sentence by the Court may differ from any calculation the United
        States, my attorney, or I may have made, and I will not be able to withdraw my plea if


!
~
        this occurs.

    4. I know that I can be represented by an attorney at every stage of the proceeding, and I
       know that if I cannot afford an attorney, one will be appointed to represent me.

    5. I know that I have a right to plead "Not Guilty" or maintain my earlier plea of "Not
       Guilty" and can have a trial on the charges against me.

f:'6.   I know that I have a right to a trial by jury, and I know that if I stand trial by a jury:

            d..    I have a right to the assistance of counsel at every stage of the proceeding.

            f'4.   I have a right to see and observe the witnesses who testify against me.



           :%: ~:~:::!::.:~:~:::::::~~=:·:::::~;~:::::::::quire
   the attendance and testimony of those witnesses. If I cannot afford to pay for the
   appearance of a witness and mileage fees, the government will pay them.


                                                    3
              Case 2:18-cr-00231-DAK Document 21 Filed 12/10/18 Page 4 of 12




                       I cannot be forced to incriminate myself, and I do not have to testify at any
     trial.
              'fl
              f. If I do not want to testify, the jury will be told that no inference adverse to
     me may be drawn from my election not to testify.
              t/> g.
                  The government must prove each and every element of the offense charged
     against ~,rbeyond a reasonable doubt.
              ~h.      It requires a unanimous verdict of a jury to convict me.

              ~
              i. If I were to be convicted, I could appeal, and if I could not afford to appeal,
    the government would pay the costs of the appeal, including the services of appointed
 . ymnsel.
f'JiJ'i   If I plead guilty, I will not have a trial of any kind.

\v 8'.    I know that 18 U.S.C. § 3742(a) sets forth the circumstances under which I may
          appeal my sentence. However, fully understanding my right to appeal my sentence,
          and in consideration of the concessions and/or commitments made by the United
          States in this plea agreement, I knowingly, voluntarily and expressly waive my right
          to appeal as set forth in paragraph 12 below.
~9.       I know that 18 U.S.C. § 3742(b) sets forth the circumstances under which the United
(:>       States may appeal my sentence.
     10. I know that under a plea of guilty the judge may ask me questions under oath about
         the offense. The questions, if asked on the record and in the presence of counsel,

f        must be answered truthfully and, if I give false answers, I can be prosecuted for
         perjury.
     11. I stipulate and agree that the following facts accurately describe my conduct. Thes~)
         facts provide a basis for the Court to accept my guilty plea:             vU  ~        /   &
f6   From November 2015 to November 2016, I operated pill presses with J £I \?,Aaron
     Shamo, who sold on the dark web the pills I pressed. I pressed counterfeit Xanax and
     fake Oxycodone pills. The counterfeit Xanax contained Alprazolam; the fake Oxycodone
     pills contained Fentanyl.

     I helped develop the recipe and process to create fake Oxycodone pills that appeared to
     be legitimate oxycodone pills. Specifically, I pressed two types of fake Oxycodone pills:
     round blue tablets debossed with "A 215" on the bisected side and round blue tablets with
     "M " on one side and a "30" above a bisect on the other.


                                                      4
         Case 2:18-cr-00231-DAK Document 21 Filed 12/10/18 Page 5 of 12




   I pressed approximately 480,000 fake oxycodone pills, each of which weighed just over
   1OOmg. I therefore manufactured and distributed approximately 48kg of a mixture or
   substance containing Fentanyl.
   Shamo was paid in Bitcoin for his dark web pill sales. Shamo paid me for my efforts in
   bitcoin and in cash we converted from Bitcoin. I conducted transactions with some of my
   bitcoin to obtain US currency. I then deposited some of that US currency into my bank
   account, even though I knew it represented drug-distribution proceeds.

   In August 2018, I voluntarily turned over to investigators the proceeds I received from
   my work with Aaron Shamo. I turned over $671,030 in United States Currency at my
   attorney's office and $134,960 in United States Currency at my residence. I also
~voluntarily turned over my bitcoin walle~ which contained 32.811 Bitcoin.

   12. The only terms and conditions pertaining to this plea agreement between me and the
       United States are as follows:
          ha. Guilty Plea. I will plead guilty to Counts one, two, three, and four of the
   Felony I~~rmation.
           (°Db. Relevant Conduct. I understand and agree that the Presentence Report
   may include descriptions of conduct I engaged in which either was not charged against
   me, will not be pleaded to by me, or both. I understand and agree that the Court may take
   these f~c~ into consideration in sentencing.
         f6 c. Acceptance of Responsibility. The government agrees to recommend that
   my offense level under the U.S. Sentencing Guidelines be decreased by two levels for
   acceptance of responsibility pursuant to Sentencing Guideline § 3E 1.1 (a) if, in the
   opinion of the United States, I clearly demonstrate acceptance of responsibility for my
   offenses, up to and including at the time of sentencing, as set forth in § 3E1.1 of the
   Sentencing Guidelines. In addition, the government agrees to move for an additional
   one-level reduction in the offense level, in accordance with Sentencing Guideline§
   3El.l(b), ifl qualify for a two-level reduction under§ 3El.l(a) and the offense level is
   16 or greater prior to receiving the two-level reduction.
       ('£ d. Other Government Concessions. The United States agrees to not charge
   the defendant with death-resulting-counts under 21 U.S.C. 841(a)(l) for any deaths later
   discovered or charged to have been from drugs manufactured by the defendant or
   distributed by the defendant's co-conspirators through the Pharma-Master vendor account
   on AlphaBay.




                                               5
     Case 2:18-cr-00231-DAK Document 21 Filed 12/10/18 Page 6 of 12




      ~e.     Appeal Waiver.

                (1)    Fully understanding my limited right to appeal my sentence, as
explained above in paragraph 8, and in consideration of the concessions and/or
commitments made by the United States in this plea agreement, I knowingly, voluntarily,
and expressly waive my right to appeal any sentence imposed upon me, and the manner
in which the sentence is determined, on any of the grounds set forth in 18 U.S.C. § 3742
or on any ground whatever, except I do not waive my right to appeal (1) a sentence above
the maximum penalty provided in the statute of conviction as set forth in paragraph 2
above; and (2) a sentence above the high-end of the guideline range as determined by the
district court at sentencing, or, in the event that no such determination is made by the
district court, a sentence above the high-end of the guideline range as set forth in the final
presentence report.

         ~     (2)  I also knowingly, voluntarily, and expressly waive my right to
challenge my sentence, and the manner in which the sentence is determined, in any
collateral review motion, writ or other procedure, including but not limited to a motion
brought under 28 U.S.C. § 2255, except on the issue of ineffective assistance of counsel.

          ~ (3)      I also knowingly, voluntarily, and expressly waive my right to
challenge the constitutionality of the statutes to which I am pleading guilty and that my
admitted conduct does not fall with the scope of those statutes, in any collateral review
motion, writ or other procedure, including but not limited to a motion brought under 28
U.S.C. § 2_2j5, except on the issue of ineffective assistance of counsel.

        {Y'b (4) I understand that this waiver of my appeal and collateral review
rights concerning my sentence shall not affect the government's right to appeal my
sentence pursuant tol8 U.S.C. § 3742(b). However, I understand that the United States
agrees that if it appeals my sentence, I am released from my waiver.

         ef    (5)    I further understand and agree that the word "sentence" appearing
throughout this waiver provision is being used broadly and applies to all aspects of the
Court's sentencing authority, including, but not limited to: (1) sentencing
determinations; (2) the imposition of imprisonment, fines, supervised release, probation,
and an; '1'ecific terms and conditions thereof; and (3) any orders of restitution.
      (0 f. Presentence Report and Financial Information. I agree to provide
truthful and complete information, including financial information, as requested by the
probation office for the preparation of my presentence report and for determination of the
conditions of my supervised release. I also consent to allowing the United States
Attorney's Office to run a credit check on me. I consent to being placed on the Treasury
Offset Program and State Finder.


                                              6
         Case 2:18-cr-00231-DAK Document 21 Filed 12/10/18 Page 7 of 12




     q:b   g. Restitution.

             (1)      I understand that the government will request and that the Court
may order that I pay restitution. I also agree to pay restitution to victims of unpleaded or
uncharged relevant conduct pursuant to 18 U.S.C. § 3663(a)(2) and (3).

          I agree and I request that the proceeds I have transferred to investigators-
$ 805 ,990 in United States Currency and the dollar value of the 32.811 Bitcoin, once
converted to cash-should be first applied to my restitution obligations.

        Under 18 U.S.C. § 3663A(c)(l)(A)(ii), I also agree to pay restitution, in the
amount of $46,941.07, to J. L., landlord at the Titian Way residence, at the time
sentencing. I agree to pay this specific restitution, joint and several with any
codefendants, and agree that this amount should not be reduced or increased through
apportionment of liability under 18 U.S.C. § 3664(h).

         I agree to pay restitution to the family (or next-of-kin or estate) of every person
who ordered a controlled substance from Pharma-Master on AlphaBay who is now
deceased pursuant to 18 U.S.C. § 3663(a)(3) (not (a)(2)). To date, the United States has
identified approximately eighty Pharma-Master customers who are now deceased.
Whether it was Pharma-Master's pills that killed the decedents or Pharma-Master's pills
fed the decedents' addictions until death took them, I agree that restitution should be
made to their family or next-of-kin.

               (2)   I understand that the amount of restitution and the schedule of
payments will be determined as a part of the sentencing proceedings in accordance with
the provisions of 18 U.S.C. § 3664. I agree to pay all restitution as ordered by the Court.
I agree that the payment and enforcement of my restitution order is governed by 18
U.S.C. § 3664, and my lawyer has explained the consequences of an order of restitution.

       The United States agrees to ask the Court to limit my restitution obligation to the
combined value of the proceeds I have transferred to investigators-$805,990 in United
States Currency and the dollar value of the 32.811 Bitcoin, once converted to cash. The
United States agrees to petition the Money Laundering and Asset Recovery Section
(MLARS) to apply my forfeited proceeds first to satisfy my restitution obligation.

               (3)    I understand and agree that payment of any restitution owed,
pursuant to the schedule set by the Court at sentencing, should be a condition of any term
of probation or supervised release imposed upon me. I know that if I fail to pay
restitution as ordered, the failure can be considered a violation of probation or supervised
release and, pursuant to 18 U.S.C. § 3614, the Court can resentence me to any sentence
which might originally have been imposed in my case.




                                              7
       Case 2:18-cr-00231-DAK Document 21 Filed 12/10/18 Page 8 of 12




          h. Forfeiture.
               (1)    I agree to forfeit all property acquired from or traceable to my
offenses and all property that was used to facilitate my offenses, including, but not
limited to, the following specific property:

CURRENCY

   •   $1,227,773.00 in United States Currency

   •   $19,520.00 in United States Currency

   •   $429,600.00 in United States Currency

   •   $5,357,950.38 in United States Currency, the proceeds of the sale of 513.15

       Bitcoin

   •   $671,030 in United States Currency

   •   $134,960 in United States Currency

   •   $10,096.20 in United States Currency

   •   512.93 Bitcoin Cash (BCH)

   •   513.15 Bitcoin Gold (BTG)

   •   32.811 Bitcoin

AUTOMOBILES

   •   $30,250 as a substitute res for a 2011 Ford F-350 pickup

       (VIN#1FT8W3BT7BEC88017) sold pursuant to an interlocutory sale order

   •   $6,400 as a substitute res for a 2008 BMW 135i (VIN#WBAUC73508VF25535)

       sold pursuant to an interlocutory sale order




                                              8
         Case 2:18-cr-00231-DAK Document 21 Filed 12/10/18 Page 9 of 12




~ISCELLANEOUS
     •   The pill press seized from the garage at Aaron SHAMO's residence on Titian Way.

         Here is a photo:




     •   Associated pill dyes and stamps

     •   Four 100.ounce silver bars


                (2)    I acknowledge that all property covered by this agreement is subject
 to forfeiture because it represents the proceeds of illegal conduct or helped facilitate
 illegal conduct.

               (3)    Per its standard practice in cases involving victims, the U.S.
 Attorney's Office agrees to recommend to the United States Department of Justice
 through the restoration process that property forfeited in this matter be applied to
 restitution.

                (4)    I agree that all such property maybe forfeited in either an
 administrative, civil and/or criminal judicial proceeding. I agree that I will not make a
 claim to the property or otherwise oppose forfeiture in any such proceedings, and I will
 not help anyone else do so. If I have already made such a claim, I hereby withdraw it. I
 further agree that I will sign any necessary documents to ensure that clear title to the
 forfeited assets passes to the United States, and that I will testify truthfully in any judicial
 forfeiture proceeding. In addition, I agree that I will not make any claim to property
 forfeited by any other defendant in this case.

                (5)    I agree that as a result of my acts or omissions the proceeds I
 obtained from my offenses are not available for forfeiture and 1) cannot be located upon
 the exercise of due diligence; 2) have been transferred or sold to, or deposited with, a
 third party; 3) have been placed beyond the jurisdiction of the court; and/or 4) have been
 commingled with other property which cannot be divided without difficulty.


                                                9
     Case 2:18-cr-00231-DAK Document 21 Filed 12/10/18 Page 10 of 12




              (6)    I hereby waive any claims I may have against the United States
regarding the seizure and forfeiture of the property covered by this agreement.
               (7)     I hereby waive the requirements regarding notice of the forfeiture in
the charging instrument, announcement of the forfeiture at sentencing, and incorporation
of the forfeiture in the judgment.
              (8)    I hereby waive any constitutional or statutory challenges to the
forfeiture covered by this agreement, including that the forfeiture is an excessive fine or
punishment.
              (9)    I hereby additionally agree to forfeit to the United States Attorney
General all or any part of proceeds received or to be received by me, or a transferee of
me, from a contract relating to a depiction of my offenses in a movie, book, newspaper,
magazine, radio, internet or television production, or live entertainment of any kind, or an
expression of my thoughts, opinions, or emotions regarding my offenses.
  ~<Y13. I understand and agree that this plea agreement is solely between me and
the United States Attorney for the District of Utah and does not bind any other federal,
state, ,?y1ocal prosecuting, administrative, or regulatory authorities.
  ~Vl4.     I understand that I have a right to ask the Court any questions I wish to ask
concerning my rights about these proceedings and the plea.

                                  *     *     *      *

 JI       make the following representations to the Court:

       1.      I am   30
              years of age. My education consists of
 I~---- (can/cannot] read and understand English.

 ~ 2. This Statement in Advance contains all terms of the agreements between
 me and the government; if there are exceptions, the Court will be specifically advised,
 on the record, at the time of my guilty plea of the additional terms. I understand the
 government and I cannot have terms of this plea agreement that are not disclosed to the
 Court.
  ~ 3.         No one has made threats, promises, or representations to me that have
 caus~?   me to plead guilty, other than the provisions set forth in this agreement.
   ~14.      Neither my attorney nor the government has promised me that I would
 receive probation or any other form of leniency because of my plea.



                                             10
        Case 2:18-cr-00231-DAK Document 21 Filed 12/10/18 Page 11 of 12




                 I have discussed this case and this plea with my lawyer as much as I wish,
     and I have no additional questions.
       ~.        I am satisfied with my lawyer.
       ~ 7. My decision to enter this plea was made after full and careful thought; with
     the advice of counsel; and with a full understanding of my rights, the facts and
     circumstances of the case and the consequences of the plea. I was not under the
     influence of any drugs, medication, or intoxicants when I made the decision to enter the
     plea, and I am not now under the influence of any drugs, medication, or intoxicants.
       ~8.       I have no mental reservations concerning the plea.
     i:fJ 9.      I understand and agree to all of the above. I know that I am free to change
     or delete anything contained in this statement. I do not wish to make changes to this
     agreement because I agree with the terms and all of the statements are correct.
                    r--
DATED this JQ_ day of jkre rnb.e fl , :2tJ[<;(.




                                                     Defendant

       I certify that I have discussed this plea agreement with the defendant, that I have
fully explained his rights to him, and that I have assisted him in completing this written
agreement. I believe that he is knowingly and voluntarily entering the plea with full
knowledge of his legal rights and that there is a factual basis for the plea.

DATEDthis         \0~dayof ~~;20[~


                                                     ~~l~~
II

II




                                                11
     Case 2:18-cr-00231-DAK Document 21 Filed 12/10/18 Page 12 of 12




      I represent that all terms of the plea agreement between the defendant and the
government have been, or will be at the plea hearing, disclosed to the Court, and there are
no undisclosed agreements between the defendant and the United States.

DATED this   (O~ay of~ , 2-tJ?f/
                                                 JOHN W. HUBER
                                                 United States Attorney


                                                   ~
                                                 MftHAELGADD
                                                 Special Assistant United States Attorney




                                            12
